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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

SERVICIOS FUNERARIOS GG, S.A. DE C.V.,

                      Plaintiff,

v.

ADVENT INTERNATIONAL
CORPORATION,

                      Defendant,
                                                      Civil Action No. 23-cv-10684-IT
                      and
                                                      Referral: Hon. Jennifer C. Boal
ADVENT INTERNATIONAL
CORPORATION,

                      Counterclaim-Plaintiff,

v.

SERVICIOS FUNERARIOS GG, S.A. DE C.V.,

                      Counterclaim-Defendant.


      AIC’S UNOPPOSED MOTION TO EXTEND TIME FOR PRODUCTION OF
                 CERTAIN DOCUMENTS FROM CARLOS PAZ

       Advent International Corporation n/k/a Advent International, L.P., (“AIC”) moves

pursuant to Rule 6(b) of the Federal Rules of Civil Procedure to extend its deadline to produce

documents collected from the cell phone of Carlos Paz from June 28, 2024 to July 15, 2024.

       1.      On December 11, 2023, this Court ordered AIC to search Carlos Paz’s phone and

produce responsive documents within 30 days. See Doc. No. 232 at 2. The Court granted AIC’s

motion to stay that order pending Judge Talwani’s ruling on its objections. Doc. No. 262. Judge

Talwani overruled AIC’s objections on May 29, 2024. Accordingly, AIC understands the current
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deadline to produce documents collected from Mr. Paz’s cell phone to be June 28, 2024 (i.e., 30

days from entry of the order overruling AIC’s objection). See Doc. No. 372.

       2.       AIC is working diligently to comply with this Court’s order.         Despite the

significant challenges of obtaining access to Mr. Paz’s phone data due to the Mexican arrest

warrant and Interpol Red Notice that Servicios Funerarios GG, S.A. de C.V. (“SF”) has caused to

be issued against Mr. Paz (as discussed at length in AIC’s briefing, e.g., Doc. No. 251), AIC

recently managed to complete its collection of documents from Paz’s cell phone. But because

obtaining access to those documents required further discussion with Mr. Paz’s personal criminal

counsel, and because Mr. Paz remains in hiding, AIC was unable to collect Mr. Paz’s documents

in time to review them and make a full production by June 28.

       3.      Now that AIC has possession of Mr. Paz’s documents, it is reviewing them as

quickly as possible. Nonetheless, AIC’s review is complicated both by the considerable size of

the collection and the upcoming July 4 holiday. AIC thus respectfully requests that the Court

extend the time to complete production of documents from Mr. Paz’s cell phone by nine business

days, to July 15, 2024.

       4.      There is good cause for the brief extension AIC requests. The additional time will

ensure that AIC can perform a comprehensive review of Mr. Paz’s documents for responsiveness

and privilege. By the same token, there is no prejudice to SF. Depositions have not yet been

scheduled, and in any case Mr. Paz’s deposition cannot go forward until the Court resolves AIC’s

pending Motion for a Protective Order Staying Depositions of Criminal Defendants in Mexico,

Doc. No. 290. Thus, SF will have ample time to review Mr. Paz’s documents before deposing Mr.

Paz.
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       5.      Undersigned counsel certifies that the parties have conferred pursuant to Local Rule

7.1(a)(2). SF does not oppose this motion.

       WHEREFORE, AIC respectfully requests that the Court extend its deadline to produce

documents collected from the cell phone of Carlos Paz to July 15, 2024.
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Dated: June 26, 2024

Respectfully submitted,

/s/ Andrew J. Rossman
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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 26, 2024, I caused to be served a copy of the foregoing

document via the CM/ECF system on all counsel of record.



                                                                  /s/ Andrew J. Rossman
                                                                     Andrew J. Rossman
